Case 2:04-cr-20462-SH|\/| Document 40 Filed 04/25/05 Page 1 of 3 Page|D 61

 

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IN THE UNITED sTATEs DISTRICT cOURT 06
FOR THB wEsTERN DISTRICT oF TENNESSEE g§;r_§.z-l,\\ ¢;.,;~ _
wEsTERN DIVISION “"’ " " d
tim a}`;z_z_`“i; _ J,§‘
""*'-D- OF `f"f\*, l\/:i;v,PHié

UNITED STATES OF AMERICA
Plaintiff,
criminal N@. 04 -' 0(/@ Mi

(30-Day Continuance)

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Defendant(s}.

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at §;QQ
a.m. on Fridav, Mav 27, 2005, with trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22md day of April, 2005.

This dod mem entered on the docket sheet !n compliance
With Ru|e 55 and/or 32!b) FRCIP on " "

Case 2:04-cr-20462-SH|\/| Document 40 Filed 04/25/05 Page 2 of 3 Page|D 62

So oRDERED this 22ndl day of April, 2005.

§M?D O.QQ

 

ON HIPPS MCCALLA
D STATES DISTRICT JUDGE

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%'“`7\:

Assistant'United States Attorney

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b’\#/

 

 

 

Counsel for Defendant(s)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-20462 Was distributed by faX, mail, or direct printing on
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Honorable Jon McCalla
US DISTRICT COURT

